     Case: 1:15-cv-01586-CAB Doc #: 31 Filed: 06/24/16 1 of 2. PageID #: 302



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

    ATSCO HOLDINGS CORP., et al.                )    CASE NO. 1:15-CV-1586
                                                )
             Plaintiffs,                        )    JUDGE CHRISTOPHER A. BOYKO
                                                )
    v.                                          )
                                                )
    AIR TOOL SERVICE COMPANY, et al.            )
                                                )
             Defendants.                        )


                     JOINT NOTICE OF INTENT TO PROCEED WITH
                           COURT-SPONSORED MEDIATION


         Pursuant to the Court’s instruction at the Case Management Conference, the parties

hereby submit notice of their intent to proceed with Court-sponsored Mediation.

                                    Respectfully submitted,

/s/ Brian P. Muething via consent                   /s/ Tim L. Collins
Brian P. Muething (0076315)                         Thomas J. Scanlon (0017308)
bmuething@kmklaw.com                                tscanlon@collins-scanlon.com
Jacob D. Rhode (0089636)                            Tim L. Collins (0033116)
jrhode@kmklaw.com                                   tcollins@collins-scanlon.com
KEATING MUETHING & KLEKAMP PLL                      Craig P. Kvale (0055315)
One East Fourth Street, Suite 1400                  ckvale@collins-scanlon.com
Cincinnati, Ohio 45202                              Joseph H. Gutkoski (0086285)
Telephone: 513-579-6400                             jgutkoski@collins-scanlon.com
Facsimile: 513-579-6457                             COLLINS & SCANLON LLP
                                                    3300 Terminal Tower
Counsel for Plaintiffs ATSCO Holdings Corp.         50 Public Square
and Hy-Tech Machine, Inc.                           Cleveland, Ohio 44113-2289
                                                    Telephone: 216-696-0022
                                                    Facsimile: 216-696-1166

                                                    Counsel for Defendants Air Tool Service
                                                    Company, n/k/a X5432, Inc. and Rick J.
                                                    Sabath
           Case: 1:15-cv-01586-CAB Doc #: 31 Filed: 06/24/16 2 of 2. PageID #: 303



                                                            CERTIFICATE OF SERVICE

              I hereby certify that on the 24th day of June, 2016, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties not receiving service through the Court’s electronic filing

system will be served by regular U.S. mail. Parties may access this filing through the Court’s

system.

Brian P. Muething
bmuething@kmklaw.com
Jacob D. Rhode
jrhode@kmklaw.com
Keating Muething & Klekamp PLL
One East Fourth Street, Suite 1400
Cincinnati, Ohio 45202

Counsel for Plaintiffs ATSCO Holdings Corp.
and Hy-Tech Machine, Inc.


                                                                                                   /s/ Tim L. Collins
                                                                                                   Counsel for Defendants Air Tool Service
                                                                                                   Company, n/k/a X5432, Inc. and Rick J.
                                                                                                   Sabath




P:\Melinda\Sabath, Rick J\ATSCO Suit\Motions & Pleadings\Notice of Intent to Proceed with Court Mediation - 06.24.16.docx




                                                                                           2
